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761                 SMS - Sent                                                                                                SMS
        Description: (No description)
        From: Me <+18123058776>                                                   Time stamp
                                                                                  (Device time       11/11/2018 6:09:11 PM
                                                                                  +00:00):
        To: Chief               <+

        Remote party: Chief                    <              >

        Direction: Outgoing                           Read status: Read              Deleted: No

        He did tell me! Now you can enjoy the rest of your trip and know that's over. And we will help you with the garage
        when you are back.




763                 SMS - Inbox                                                                                               SMS
        Description: (No description)
        From: Chief                  <+               >                           Time stamp
                                                                                  (Device time       11/11/2018 4:17:25 PM
                                                                                  +00:00):
        To: Me <+18123058776>

        Remote party: Chief                    <+             >

        Direction: Incoming                           Read status: Read              Deleted: No

        Don't know if 2x,     told you or not, but Shane chose to resign. Having .ca,a great time hunting.
        Please have my garage completed upon my return




                                                                                                                    316 210
                                                                                                              20-32-M-DWM
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1516                SMS - Sent                                                                                                   SMS
        Description: (No description)
        From: Me <+18123058776>                                                     Time stamp
                                                                                    (Device time        10/8/2018 12:59:30 AM
                                                                                    +00:00):
        To: Chief               <+

        Remote party: Chief                    <+

        Direction: Outgoing                           Read status: Read                 Deleted: No

        Not that I know of but she's been going out there riding for quite some time. I'm pretty sure she doesn't and it's just
        free horseback riding for them.




1518                SMS - Inbox                                                                                                  SMS
        Description: (No description)
        From: Chief                  <+               >                             Time stamp
                                                                                    (Device time        10/8/2018 12:16:39 AM
                                                                                    +00:00):
        To: Me <+18123058776>

        Remote party: Chief                    <+

        Direction: Incoming                           Read status: Read                 Deleted: No

        Does Shane's daughter have a disability?




                                                                                                                                     415
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1519                MMS - Sent                                                                                                MMS
        Subject: (No subject)
        From: Me <+18123058776>                                                     Time stamp
                                                                                    (Device time      10/8/2018 12:13:10 AM
                                                                                    +00:00):
        To: Chief               <+                    >

        Remote party: Chief                    <

        Direction: Outgoing                               Read status: Read            Deleted: No

        ￼Got it. I will text him tomorrow. I'd bet a million it went from Shane to  to      I saw a social media post
        of Shane's wife and daughter at Two Bear horse therapy so they are undoubtedly communicating.


        Attachments (1)




                                EIC
1520                SMS - Inbox                                                                                                SMS
        Description: (No description)
        From: Chief                  <+                                             Time stamp
                                                                                    (Device time      10/7/2018 11:56:55 PM
                                                                                    +00:00):
        To: Me <+18123058776>

        Remote party: Chief                    <                  >

        Direction: Incoming                               Read status: Read            Deleted: No

        I need to know who told him.

1521                SMS - Inbox                                                                                                SMS
        Description: (No description)
        From: Chief                  <+                                             Time stamp
                                                                                    (Device time      10/7/2018 11:55:14 PM
                                                                                    +00:00):
        To: Me <+18123058776>

        Remote party: Chief                    <+                 >

        Direction: Incoming                               Read status: Read            Deleted: No

        No I want to hear what he said




                                                                                                                                   416
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1522                SMS - Sent                                                                                                  SMS
        Description: (No description)
        From: Me <+18123058776>                                                     Time stamp
                                                                                    (Device time       10/7/2018 11:53:17 PM
                                                                                    +00:00):
        To: Chief               <+

        Remote party: Chief                    <+

        Direction: Outgoing                               Read status: Read            Deleted: No

        Would you prefer I not meet him?

1523                SMS - Sent                                                                                                  SMS
        Description: (No description)
        From: Me <+18123058776>                                                     Time stamp
                                                                                    (Device time       10/7/2018 11:53:04 PM
                                                                                    +00:00):
        To: Chief               <+

        Remote party: Chief                    <+                 >

        Direction: Outgoing                               Read status: Read            Deleted: No

        I was going to text him at some point tomorrow. I have someone flying in tonight so I will be pretty tied up
        tomorrow.

1524                SMS - Inbox                                                                                                 SMS
        Description: (No description)
        From: Chief                  <+                                             Time stamp
                                                                                    (Device time       10/7/2018 11:25:44 PM
                                                                                    +00:00):
        To: Me <+18123058776>

        Remote party: Chief                    <+

        Direction: Incoming                               Read status: Read            Deleted: No

        When are you meeting with                     ?




                                                                                                                                    417
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1641              SMS - Sent                                                                             SMS
       Description: (No description)
       From: Me <+18123058776>                                            Time stamp
                                                                          (Device time    10/4/2018 2:53:48 AM
                                                                          +00:00):
       To: Chief         <+               >

       Remote party: Chief           <+

       Direction: Outgoing                    Read status: Read             Deleted: No

       So, that must mean I'm going to start getting a paycheck.

1642              SMS - Inbox                                                                            SMS
       Description: (No description)
       From: Chief             +              >                           Time stamp
                                                                          (Device time    10/4/2018 1:52:17 AM
                                                                          +00:00):
       To: Me <+18123058776>

       Remote party: Chief           <                >

       Direction: Incoming                    Read status: Read             Deleted: No

       Better be there, or your suspended

1643              SMS - Sent                                                                             SMS
       Description: (No description)
       From: Me <+18123058776>                                            Time stamp
                                                                          (Device time    10/4/2018 1:42:39 AM
                                                                          +00:00):
       To: Chief         <+

       Remote party: Chief           <+               >

       Direction: Outgoing                    Read status: Read             Deleted: No

       Yes sir.        told me to drop it off tomorrow morning.




                                                                                                           449
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1644                SMS - Inbox                                                                                            SMS
        Description: (No description)
        From: Chief                <                                             Time stamp
                                                                                 (Device time       10/4/2018 1:39:54 AM
                                                                                 +00:00):
        To: Me <+18123058776>

        Remote party: Chief                    <+

        Direction: Incoming                           Read status: Read            Deleted: No

        Do we have a statement yet




                                                                                                                               450
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2040             SMS - Sent                                                                                      SMS
       Description: (No description)
       From: Me <+18123058776>                                                  Time stamp
                                                                                (Device time      9/13/2018 2:32:52 AM
                                                                                +00:00):
       To: Chief         <

       Remote party: Chief          <+              >

       Direction: Outgoing                 Read status: Read                      Deleted: No

       Lol. Ok

2041             SMS - Inbox                                                                                     SMS
       Description: (No description)
       From: Chief           <              >                                   Time stamp
                                                                                (Device time      9/13/2018 2:20:21 AM
                                                                                +00:00):
       To: Me <+18123058776>

       Remote party: Chief          <+              >

       Direction: Incoming                 Read status: Read                      Deleted: No

       I mhaving dinner in Helena with a woman who would kick your and my ass and HOT I'll call you later.




                                                                                                                   558
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2050                SMS - Sent                                                                                                SMS
        Description: (No description)
        From: Me <+18123058776>                                                    Time stamp
                                                                                   (Device time        9/13/2018 2:08:34 AM
                                                                                   +00:00):
        To: Chief               <+

        Remote party: Chief                    <+

        Direction: Outgoing                           Read status: Read              Deleted: No

        Are you going to give me a break and take a deep breath and let Shane go on this trip Friday? I'd offer you a year
        of free golf but that might be bribery. If you let him go that's going to help the overall cause.




                                                                                                                                  561
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2166           SMS - Sent                                                                           SMS
       Description: (No description)
       From: Me <+18123058776>                                         Time stamp
                                                                       (Device time   9/5/2018 6:44:18 PM
                                                                       +00:00):
       To: Chief        <+             >

       Remote party: Chief       <                 >

       Direction: Outgoing                 Read status: Read            Deleted: No

       Is Shane at the PD?




                                                                                                      591
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2170            SMS - Inbox                                                                                                 SMS
       Description: (No description)
       From: Chief             <+                                                       Time stamp
                                                                                        (Device time        9/5/2018 1:47:53 AM
                                                                                        +00:00):
       To: Me <+18123058776>

       Remote party: Chief             <+               >

       Direction: Incoming                     Read status: Read                         Deleted: No

       Thanks much appreciated.

2171            SMS - Sent                                                                                                  SMS
       Description: (No description)
       From: Me <+18123058776>                                                          Time stamp
                                                                                        (Device time        9/5/2018 1:45:54 AM
                                                                                        +00:00):
       To: Chief          <+

       Remote party: Chief             <

       Direction: Outgoing                     Read status: Read                         Deleted: No

       I trust both of you guys with my life. I sure as hell trust both of you to do shit the right way. I will back you guys no
       matter which way you go.




                                                                                                                                   592
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2172                SMS - Inbox                                                                                              SMS
        Description: (No description)
        From: Chief                <+                 >                             Time stamp
                                                                                    (Device time        9/5/2018 1:34:32 AM
                                                                                    +00:00):
        To: Me <+18123058776>

        Remote party: Chief                    <+

        Direction: Incoming                           Read status: Read              Deleted: No

        POST not Pist

2173                SMS - Inbox                                                                                              SMS
        Description: (No description)
        From: Chief                <+                 >                             Time stamp
                                                                                    (Device time        9/5/2018 1:34:02 AM
                                                                                    +00:00):
        To: Me <+18123058776>

        Remote party: Chief                    <+

        Direction: Incoming                           Read status: Read              Deleted: No

        I don't plan on telling him unless I am instructed to by City Mgr and Attorney.
        If you look at the statute 2-2-104. We will have to show that he didn't do his job because of the things has done
        for him. Preponderance would be sufficient. By PIST Arm's he cannot accept gifts. Need to take our time and not
        fuck this up. Thanks for having confidence in           and me.




                                                                                                                                 593
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2177     795-88208DB6A787.plugi         24-58F8656B8BEC.plugin
               SMS - Sent
         nPayloadAttachment             PayloadAttachment                                                               SMS
       Description: (No description)
       From: Me <+18123058776>                                                      Time stamp
                                                                                    (Device time       9/4/2018 10:18:29 PM
                                                                                    +00:00):
       To: Chief         <+

       Remote party: Chief                             >

       Direction: Outgoing                   Read status: Read                        Deleted: No

       It just dawned on me if you spill the beans to Shane before the hunting trip he won't go. For what it's worth I'd slow
       roll it a bit and not do anything to spook him before the trip. If you are just trying to unscrew Shane and not send
       the grim reaper for him I have an idea. It's just how I would handle him and of course my opinion means nothing in
       this scenario because it's your world and I'm just living in it. It really comes down to what you guys want to do for
       an end result.




                                                                                                                           594
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2205            SMS - Inbox                                                                                          SMS
       Description: (No description)
       From: Chief           <+             >                                      Time stamp
                                                                                   (Device time      9/3/2018 8:13:14 PM
                                                                                   +00:00):
       To: Me <+18123058776>

       Remote party: Chief           <+

       Direction: Incoming                  Read status: Read                       Deleted: No

       I'm against Labor Day that's why I'm putting the sheeting on my garage today. Why don't         and I come over to
       your place tomorrow I'd like both him and me to be there and we can discuss it and look at your timeline. I'm going
       2 work for another couple hours and then I'mma sit down and drink several cold beers.




                                                                                                                        602
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2225            SMS - Inbox                                                                                       SMS
       Description: (No description)
       From: Chief           <+              >                                      Time stamp
                                                                                    (Device time   9/2/2018 10:28:08 PM
                                                                                    +00:00):
       To: Me <+18123058776>

       Remote party: Chief           <+               >

       Direction: Incoming                   Read status: Read                       Deleted: No

       , sorry I missed you I will give you a call tomorrow about the Shane thing




                                                                                                                    608
